 USDC IN/ND case 1:21-cv-00466-HAB-SLC document 4 filed 11/22/21 page 1 of 3
                                    35D01-2111-PL-000707                                    Filed: 11/22/2021 3:40 PM
                                                                                                                 Clerk
                                       Huntington Superior Court                          Huntington County, Indiana




STATE OF INDIANA  )                            IN THE HUNTINGTON SUPERIOR COURT
                  ) SS:
HUNTINGTON COUNTY )                            CAUSE NO:______________________________

DIANA I. BRODRICK,                             )
                                               )
                Plaintiff,                     )
                                               )
        v.                                     )
                                               )
WAL-MART STORES, INC.,                         )
WAL-MART REAL ESTATE                           )
BUSINESS TRUST, and                            )
JIM CLARK                                      )
                                               )
                Defendants.                    )

                                          COMPLAINT

        Plaintiff, Diana I. Brodrick, (hereinafter “Plaintiff”) by counsel, DELK McNALLY, LLP,

for her Complaint against Wal-Mart Stores, Inc., Wal-Mart Real Estate Business Trust, and Jim

Clark (collectively “Defendants”), alleges and states as follows:

        1.      Plaintiff is and has been at all times relevant to this Complaint, a resident of

Huntington County, Indiana.

        2.      Defendant, Wal-Mart Stores, Inc., is an Arkansas corporation doing business in

Huntington County, Indiana, and operates a Walmart Supercenter #2311 located at 2800 Walmart

Drive, Huntington, Indiana.

        3.      Defendant, Wal-Mart Real Estate Business Trust, is a real estate business trust and

is the registered owner of real property in Huntington County with a common address of 2800

Walmart Drive, Huntington, IN. As the registered owner of the real estate where the Walmart

Supercenter is located, Defendant owed Plaintiff a duty of care to protect against hazards located

at the real estate.




                                                                          EXHIBIT A
 USDC IN/ND case 1:21-cv-00466-HAB-SLC document 4 filed 11/22/21 page 2 of 3




        4.      Defendant, Jim Clark, was at all relevant times employed as the Store Manager of

the Walmart Supercenter located at 2800 Walmart Drive, Huntington, Indiana. As Store Manager,

he was responsible for the general safety of the premises and training and supervision of employees

as it relates to store policies and store safety for the invitees of Wal-Mart. Defendant Clark, upon

information and belief, resides in Huntington County, Indiana.

        5.      As such, venue is proper in Huntington County, Indiana pursuant to Indiana Rule

of Trial Procedure 75.

        6.      On or about December 1, 2019, Plaintiff was a business invitee, and as she was

walking into the Walmart Supercenter in Huntington when she slipped and fell on a wet,

slippery/liquid substance which had accumulated on the floor of the store.

        7.      Defendants owed Plaintiff a duty of care to provide a safe and secure environment

for its invitees. Defendants failed to meet this duty of care, and Plaintiff suffered severe permanent

injuries as a result.

        8.      Defendants were negligent by, but not necessarily limited to: failing to maintain the

premises in a reasonably safe manner; failing to provide safe passages for ingress/egress to and

from the premises; allowing a hazard to exist in a location frequented by invitees of the premises;

not employing proper inspection and/or clean-up practices; and failing to warn invitees of a hazard

existing on the premises.

        9.      Defendant Clark was also negligent by failing to properly train and/or supervise the

Wal-Mart employees to ensure that the main thoroughfares of the Wal-Mart store were free from

hazardous conditions.

        10.     Defendants’ negligence was the proximate cause of Plaintiff’s injuries, and, as a

result of these injuries, Plaintiff has incurred medical expenses, has endured pain and suffering,
USDC IN/ND case 1:21-cv-00466-HAB-SLC document 4 filed 11/22/21 page 3 of 3




has suffered permanent injuries, and will continue to endure pain and suffering and incur expenses

and damages.

       WHEREFORE, Plaintiff prays for a judgment against Defendant in an amount sufficient

to compensate her for her injuries and damages and for all other just and proper relief in the

premises.

                                         JURY DEMAND

       Plaintiff, by counsel, hereby requests a trial by jury for all matters stated and alleged herein.

                                               Respectfully submitted,

                                               DELK McNALLY LLP


                                               /s/ Jason R. Delk
                                               Jason R. Delk, Attorney No. 24853-18
                                               Austin P. Sparks, Attorney No. 36969-49
                                               Attorneys for Plaintiff

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